  Case 3:22-cv-00416-JD Document 28 Filed 05/04/22 Page 1 of 1



Law Offices of P. Randall Noah
P. Randall Noah, SBN 136452
21 Orinda Way, Suite C, #316
Orinda, CA 94563
Tel. (925) 253-5540
Fax. (925) 253-5542
Attorney for Plaintiff, Thomas Wirth

                 UNITED STATES DISTRICT COURT

                NORTHERN DISTRICT OF CALIFORNIA

THOMAS WIRTH,                                 NO. 3:22-cv-00416 JD

           Plaintiff,                         NOTICE OF DEATH
                                              OF PARTY
vs.

LIFE INSURANCE COMPANY OF NORTH
AMERICA, AECOM,

          Defendants.
_______________________________/


                 STATEMENT NOTING A PARTY’S DEATH

      In accordance with F.R.C.P. Rule 25, P. Randall Noah,

attorney for Plaintiff, Thomas Wirth, notes the death of

Thomas Wirth on April 5, 2022, Plaintiff in this action.             A

Motion for a Party Substitution of the deceased’s wife,

Tera Wirth, will be filed as soon as the necessary death

and executor documents are received.


DATED:   May 4, 2022 Law Office of P. Randall Noah
                          By: /S/ P. Randall Noah
                          P. Randall Noah
                          Attorney for Plaintiff,
                          Thomas Wirth
